         Case 2:20-cv-00966-NR Document 304 Filed 08/03/20 Page 1 of 21




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 DONALD J. TRUMP FOR                               )
 PRESIDENT, INC.; et al.,                          ) Electronically Filed
                                                   )
                 Plaintiffs,                       ) Civil Action
                                                   )
         v.                                        ) No.: 2-20-CV-966
                                                   )
 KATHY BOOCKVAR; et al.,                           )
                                                   ) Judge J. Nicholas Ranjan
                 Defendants.                       )

                   RESPONSE IN OPPOSITION TO
PENNSYLVANIA ALLIANCE INTERVENORS’ MOTION TO INTERVENE (ECF #199)

        For the same reasons that Plaintiffs have opposed the intervention of other non-parties (see

July 17, 2020 Response (ECF #177) and July 27, 2020 Response (ECF #224)), Plaintiffs also

oppose the Motion to Intervene (ECF #199) filed by Michael Crossey, Dwayne Thomas, Irvin

Weinreich, Brenda Weinreich, and the Pennsylvania Alliance for Retired Americans (collectively,

the “Pennsylvania Alliance Intervenors”). Although the Pennsylvania Alliance Intervenors attach

a proposed Rule 12 motion to their motion to intervene, this still fails to comply with Rule 24(c)’s

requirement that a proposed intervenor identify all the claims or defenses for which intervention is

sought. Indeed, the Pennsylvania Alliance Intervenors fail to identify any interest in the actual

conduct of elections or any authority under the Pennsylvania Election Code giving them the right

to handle third-party ballots or otherwise play any role in the administration and monitoring of

elections. The reason for such failure is because no such right or authority exists, and thus, like the

other non-parties who have sought intervention, the Pennsylvania Alliance Intervenors lack a

substantial interest to be a defendant in this litigation.

        The Pennsylvania Alliance Intervenors fail to meet Rule 24’s requirements for intervention

as a matter of right or by permission. Not only have they failed to set forth the claims or defenses
         Case 2:20-cv-00966-NR Document 304 Filed 08/03/20 Page 2 of 21




for which intervention is sought, the Pennsylvania Alliance Intervenors lack a discrete, substantial,

legally protectable interest in the outcome of this suit, and they cannot overcome the presumption

that Defendants are adequately representing their interests. Moreover, their involvement will bog

down an otherwise straightforward challenge by political parties, candidates, and voters who have

been and will be injured by Defendants’ inconsistent administration of the Pennsylvania Election

Code and its new no-excuse mail-in voting provisions. Accordingly, for many of the same reasons

that Plaintiffs have objected to the intervention requests by other non-parties, this Court should

deny the Motion to Intervene filed by the Pennsylvania Alliance Intervenors (ECF #199).

                                          ARGUMENT

I.     THE INTERVENTION MOTION BY THE PENNSYLVANIA ALLIANCE
       INTERVENORS IS PROCEDURALLY DEFICIENT BECAUSE IT DOES NOT
       IDENTIFY THE CLAIMS OR DEFENSES FOR WHICH INTERVENTION IS
       SOUGHT.

       Rule 24(c) is mandatory and requires a party to identify the claims or defenses to be asserted

by the party seeking intervention. The command of Rule 24(c) is clear and unambiguous: “A

motion to intervene must ... be accompanied by a pleading that sets out the claim or defense for

which intervention is sought.” Fed. R. Civ. P. 24(c) (emphasis added); see also Public Citizen v.

Liggett Group, Inc., 858 F.2d 775, 783-84 (1st Cir. 1988) (“The language of [Rule 24(c)] is

mandatory, not permissive, and the rule sets forth reasonable procedural requirements to insure

that claims for intervention are handled in an orderly fashion.”).        Rule 24(c)’s procedural

requirements serve to “enable the court to properly frame the issues, and to inform the parties

against whom some right is asserted or relief sought.” Abbent v. Eastman Kodak Co. (In re

Pantopaque Prods. Liab. Litig.), 938 F. Supp. 266, 274 (D.N.J. 1996). Accordingly, an intervenor

who fails to identify the claims or defenses upon which intervention is sought cannot intervene

even if that party claims to have an “interest” in the outcome of the litigation. See, e.g., Pin v.

Texaco, Inc., 793 F.2d 1448, 1450 (5th Cir. 1986) (“[I]ntervention under Rule 24 is conditioned
                                                -2-
         Case 2:20-cv-00966-NR Document 304 Filed 08/03/20 Page 3 of 21




by the Rule 24(c) requirement that the intervenor state a well pleaded claim or defense to the

action.”) (citation omitted; emphasis added)).

       Here, the Pennsylvania Alliance Intervenors’ Motion does not identify all the claims or

defenses they intend to assert. Without such identification, their Motion is procedurally deficient

and should be denied. See, e.g., Township of South Fayette v. Allegheny County Housing

Authority, 183 F.R.D. 451, 453 (W.D. Pa. 1998), aff’d 185 F.3d 863 (3d Cir. 1999) (“Because

movants have not submitted pleadings ‘setting forth the claim or defense for which intervention is

sought,’ their motions to intervene are subject to dismissal for failure to comply with the mandate

of Rule 24(c).”); School District of Philadelphia v. Pennsylvania Milk Marketing Board, 160

F.R.D. 66, 67 (E.D. Pa. 1995) (“PAMD has not, however, attached a ‘pleading setting forth the

claim or defense for which intervention is sought’ as required by Rule 24(c). Accordingly, PAMD

has not properly moved this Court for intervention, and so PAMD's motion to intervene either as

of right or by permission must be DENIED.”); Waudby v. Verizon Wireless Services, LLC, 248

F.R.D. 173, 175 (D.N.J. 2008) (“A proposed intervenor must comply with the requirements of

Rule 24(c).”). See also Shevlin v. Schewe, 809 F.2d 447, 450 (7th Cir. 1987) (when one simply

files a motion to intervene and a supporting brief without filing or “at any time offer[ing]” the

requisite pleading, intervention is properly denied).

       The attempt by the Pennsylvania Alliance Intervenors to overcome their failure is

unavailing. Setting aside the question of whether a Rule 12 motion constitutes a “pleading” for

purposes of Rule 24(c), 1 the fallacy in the position of the Pennsylvania Alliance Intervenors is that

their Rule 12 Motion fails to identify all the claims and defenses they intend to assert and for which




1
 See Fed. R. Civ. P. 7(a) & (b) and 12(a) & (b) (differentiating between a “pleading” and a
“motion”).
                                                 -3-
         Case 2:20-cv-00966-NR Document 304 Filed 08/03/20 Page 4 of 21




intervention is sought. Rule 24(c)’s identification requirement serves to ensure that an intervening

party does not interject claims or defenses that constitute a new or different lawsuit. See, e.g.,

United States v. City of New York, 179 F.R.D. 373, 377 (E.D. N.Y. 1998) (denying intervention

because it “may not be used to initiate what is essentially a new lawsuit. Rather, ‘(i)ntervenors must

take the pleadings in a case as they find them.’”) (citations omitted); Federal Deposit Ins. Corp. v.

Jennings, 107 F.R.D. 50, 54-55 (W.D. Okla. 1985) (denying intervention “because the interests

asserted therein are substantively different from those asserted by the present parties”). That

concern is of particular importance here given the Pennsylvania Alliance Intervenors’ focus on the

COVID-19 pandemic. See Brief in Support of Motion to Intervene (ECF #200), p. 11 (“Plaintiffs

. . . fail to even acknowledge the global pandemic or its impact on the Commonwealth’s electoral

system.”).   There is no “pandemic exception” to the Pennsylvania Election Code, and the

interpretation and implementation of the Election Code must be the same regardless of whether

the pandemic persists. The issues raised by the Pennsylvania Alliance Intervenors go well beyond

the issues raised by Plaintiffs in this case.

        Given these circumstances, this Court lacks discretion to ignore Rule 24(c)’s clear and

unambiguous mandate. See, e.g., Dickerson v. U.S. Steel Corp., 582 F.2d 827, 832 (3d Cir. 1978)

(“Furthermore, the class-member witnesses have not complied with Rule 24(c) which sets forth

the procedure for intervention: service of a motion on the parties which shall state the grounds

therefor and a pleading setting forth the claim. We conclude, then, that there is no authority in

Rule 24 for the ‘equitable intervention’ attempted in this case.”); SEC v. Investors’ Security

Leasing Corp., 610 F.2d 175, 178 (3d Cir. 1979) (“Because the requirements of rule 24(c) were

not complied with, the owners were not proper parties in the district court.”).

        Because the Pennsylvania Alliance Intervenors’ Motion (ECF #199) fails to comply with

Rule 24(c)’s identification requirement, it is procedurally improper and should be denied.
                                                -4-
         Case 2:20-cv-00966-NR Document 304 Filed 08/03/20 Page 5 of 21




II.    TO THE EXTENT THEY SEEK ANY AFFIRMATIVE RELIEF, THE
       PENNSYLVANIA ALLIANCE INTERVENORS LACKS ARTICLE III
       STANDING TO INTERVENE.

       To the extent they intend to seek any affirmative or different relief, the Pennsylvania

Alliance Intervenors must independently demonstrate that they have standing to advance their

claims. One essential aspect of an Article III court’s jurisdiction is that “any person invoking the

power of a federal court must demonstrate standing to do so.” Hollingsworth v. Perry, 570 U.S.

693, 704 (2013). In 2017, the United States Supreme Court resolved a split of authority between

the circuits “by adopting the minority view and requiring a litigant to possess Article III standing

in order to intervene as of right” if they seek to introduce any new claims or seek affirmative or

different relief. 2 Seneca Res. Corp. v. Highland Twp., No. 17-4540, 2017 WL 4168472, 2017 U.S.

Dist. LEXIS 152737, at *7 (W.D. Pa., Sept. 20, 2017) (citing Town of Chester, N.Y. v. Laroe

Estates, Inc., ___ U.S. ____, 137 S. Ct. 1645, 1651 (2017)). “Because standing is a question of

subject matter jurisdiction, if the proposed intervenors do not have standing, the Court does not

have jurisdiction and accordingly a motion to intervene fails.” Seneca Res. Corp., 2017 U.S. Dist.

LEXIS 152737, at *7 (citing Ballentine v. United States, 486 F.3d 806, 810 (3d Cir. 2007)

(“standing is a jurisdictional matter.”); Public Interest Research Grp. of N.J., Inc. v. Magnesium

Elektron, Inc., 123 F.3d 111, 117 (3d Cir.1997) (Article III standing is a “threshold jurisdictional

requirement” for any case in federal court)). See also Flying J, Inc. v. Van Hollen, 578 F.3d 569,

571, 573 (7th Cir. 2011) (discussing, specifically, standing requirement for both mandatory and

permissive intervention).




2
 As the Third Circuit recently explained, proof of Article III standing is necessary only when a
proposed defendant intervenor is seeking relief beyond that requested by the originally named
defendants. Commonwealth v. Trump, 888 F.3d 52, 57 n. 2 (3d Cir. 2018) (“Because the Little
Sisters moved to intervene as defendants and seek the same relief as the federal government, they
need not demonstrate Article III standing.”) (citations omitted).
                                               -5-
         Case 2:20-cv-00966-NR Document 304 Filed 08/03/20 Page 6 of 21




       If they intend to pursue new claims or seek affirmative or different relief, the Pennsylvania

Alliance Intervenors bear the burden of establishing the elements of standing. Spokeo, Inc. v.

Robins, ___U.S.___, 136 S.Ct. 1540, 1547 (2016). To demonstrate Article III standing, a

prospective intervenor must show that it has:

               1) suffered an “injury in fact;”
               2) that is fairly traceable to the challenged action of the [opposing
                  party] ...; and
               3) that is likely to be redressed by a favorable judicial decision.”

Spokeo, 136 S.Ct. at 1547. See also Pennsylvania Psych. Soc. v. Green Spring Health Services,

Inc., 280 F.3d 278, 283, 287-289 (3d Cir. 2002) (associational or third-party standing “requires the

satisfaction of three preconditions: 1) the plaintiff must suffer injury; 2) the plaintiff and the third

party must have a ‘close relationship’; and 3) the third party must face some obstacles that prevent

it from pursuing its own claims.”) (citations omitted).

       The injury requirement is not met just because the Pennsylvania Alliance Intervenors

have an interest in the subject matter of the litigation. A party’s “mere ‘interest in a problem,’

no matter how longstanding the interest and no matter how qualified the organization is in

evaluating the problem, is not sufficient by itself” to establish standing. Sierra Club v. Morton,

405 U.S. 727, 739 (1972). See also Hollingsworth, 133 S.Ct. at 2662 (a “generalized grievance,

no matter how sincere, is insufficient to confer standing.”); Diamond v. Charles, 476 U.S. 54, 66

(1986) (“Article III requires more than a desire to vindicate value interests.”); Dillard v. Chilton

Cty. Comm’n, 495 F.3d 1324, 1333 (11th Cir. 2007) (“[G]eneralized grievances asserted by

[individual] Intervenors ... do not assert a concrete and personalized injury”). Instead, to support

standing, a proposed intervenor must “claim ‘the invasion of a concrete and particularized legally

protected interest’ resulting in harm ‘that is actual or imminent, not conjectural or hypothetical.’”

Seneca Res. Corp., 2017 U.S. Dist. LEXIS 152737, at *10 (citing

                                                  -6-
         Case 2:20-cv-00966-NR Document 304 Filed 08/03/20 Page 7 of 21




697 F.App’x 134 (3d Cir. 2017) (quoting Blunt v. Lower Merion Sch. Dist., 767 F.3d 247, 278 (3d

Cir. 2014)).

        For an “injury” to be sufficient to establish standing, the Pennsylvania Alliance Intervenors

must show both a specific and actual injury.           “Concreteness and particularity are separate

requirements” in that “[f]or an injury to be particular, it must affect the [litigant] in a personal and

individual way[;] … [m]eanwhile, a concrete injury must be ‘de facto’; that is it must actually

exist.” Seneca Res. Corp., 2017 U.S. Dist. LEXIS 152737, at *10 (citations and quotations

omitted). Moreover, “[w]here, as here, the alleged injury is heightened risk of future harm, the

allegations must ‘entail a degree of risk sufficient to meet the concreteness requirement.’” Id. at

*11 (quoting Kamal v. J. Crew Grp., Inc., 2016 U.S. Dist. LEXIS 145392, 2016 WL 6133827, at

*2 (D.N.J. Oct. 20, 2016)) (quotations and citations omitted). See also Alfa Int’l Seafood v. Ross,

321 F.R.D. 5, 8 (D.C. D.C. 2017) (“[W]here standing is premised on future injury, the party must

demonstrate a realistic danger of sustaining a direct injury.”). Finally, “[n]ot every diversion of

resources to counteract the defendant’s conduct ... establishes an injury in fact.” N.A.A.C.P. v.

City of Kyle, Texas, 626 F.3d 233, 238 (5th Cir. 2010).

        To the extent they seek any relief beyond that requested by the original named

Defendants—which is unclear, in light of their failure to attach a pleading to their motion—the

Pennsylvania Alliance Intervenors have failed to allege or identify any concrete and particularized

injury that they have or will suffer and are seeking to redress as part of their intervention. Indeed,

in their supporting brief, the Pennsylvania Alliance Intervenors never address their Article III

standing (or lack thereof), focusing entirely on their allegedly “significant, legally cognizable

interests” in the litigation rather than on any concrete and particularized injury-in-fact. See Brief

in Support of Motion to Intervene (ECF #200), pp. 10-14. “The ‘sufficient interest’ contemplated

in Rule 24 is not equivalent to the injury-in-fact element of standing.” Seneca Res. Corp., 2017
                                                 -7-
         Case 2:20-cv-00966-NR Document 304 Filed 08/03/20 Page 8 of 21




U.S. Dist. LEXIS 152737, at *11-12. Moreover, although they claim an interest in “procedures

affecting the delivery and submission of mail ballots” and an intent to vote by mail, the

Pennsylvania Alliance Intervenors have no responsibilities under the Pennsylvania Election Code

in the conduct or administration of elections, which is the focus of Plaintiffs’ claims.

       At best, the Pennsylvania Alliance Intervenors have alleged nothing more than a

generalized interest in Pennsylvania’s election laws, which does not suffice to create Article III

standing. See, e.g., Ind. Democratic Party v. Rokita, 458 F. Supp. 2d 775, 810 (S.D. Ind. 2006)

(general interest in one state’s election laws does not create standing; “[o]therwise there would be

universal standing: anyone could contest any public policy or action he disliked. There must be a

concrete injury.”) (citations and quotations omitted). Instead, this is precisely the type of abstract,

generalized interest that the United States Supreme Court has repeatedly held does not confer

standing. See, e.g., Hollingsworth, 133 S. Ct. at 2662 (intervenor’s interest in “vindicat[ing] the

validity of a generally applicable California law … insufficient to confer Article III standing”);

Diamond, 476 U.S. at 66 (although individual physician’s standing allegation “may be cloaked in

the nomenclature of a special professional interest, it is simply the expression of a desire that the

Illinois Abortion Law as written be obeyed. Article III requires more than a desire to vindicate

value interests.”); Common Cause Ind. v. Lawson, No. 1:17-cv-03936-TWP-MPB, 2018 WL

1070472, 2018 U.S. Dist. LEXIS 30917, at *9-*10 (S.D. Ind., Feb. 27, 2018) (public interest

foundation’s “mission to ensure that states and counties properly maintain voter-registration lists

as required under federal law and its actions, including list-maintenance activities of states and

counties” and its purpose of “protect[ing] the integrity of each citizen’s right to vote from

impingement by inadequate election administration” are too generalized to support Article III

standing).



                                                 -8-
         Case 2:20-cv-00966-NR Document 304 Filed 08/03/20 Page 9 of 21




       Accordingly, this Court should deny the Pennsylvania Alliance Intervenors’ Motion to

Intervene for lack of standing.

III.   PENNSYLVANIA ALLIANCE INTERVENORS HAS FAILED TO PROVE IT IS
       ENTITLED TO INTERVENTION AS A MATTER OF RIGHT.

       The Pennsylvania Alliance Intervenors have failed to meet either of Rule 24’s requirements

for intervention as a matter of right. Under the first subsection of that Rule, a party may move to

intervene in ongoing litigation as a matter of right if it possesses “an unconditional right to

intervene by a federal statute,” or the prospective intervenor “claims an interest relating to the

property or transaction that is the subject of the action, and is so situated that disposing of the

action may as a practical matter impair or impede the movant’s ability to protect its interest, unless

existing parties adequately represent that interest.” Fed. R. Civ. P. 24(a)(1) & (2). In neither their

Motion nor their supporting brief do the Pennsylvania Alliance Intervenors cite any unconditional,

federal statutory right to intervene. Thus, Pennsylvania Alliance Intervenors have no right to

intervene under Rule 24(a)(1).

       The Pennsylvania Alliance Intervenors also fail to establish intervention as of right under

Rule 24(a)(2). To intervene by right under Rule 24(a)(2), an applicant must satisfy the following

four requirements: (1) timely application, (2) the applicant has a significantly protectable interest

in the pending lawsuit, (3) disposition of the lawsuit may impair or impede his ability to protect

applicant’s interest absent intervention, and (4) the existing parties do not adequately represent

applicant’s interest. Liberty Mut. Ins. Co. v. Treesdale, Inc., 419 F.3d 216, 220 (3d Cir. 2005).

Each of these requirements must be met for a non-party to intervene as of right. Liberty Mut. Ins.,

419 F.2d at 220; Mountain Top Condo. Ass’n v. Dave Stabbert Master Builder, Inc., 72 F.3d 361,

366 (3d Cir. 1995). If an applicant cannot meet one of the four criteria, then intervention as of

right must be denied. Reid L. v. Ill. State Bd. of Educ., 289 F.3d 1009, 1017 (7th Cir. 2002).

                                                -9-
          Case 2:20-cv-00966-NR Document 304 Filed 08/03/20 Page 10 of 21




          For the second through fourth requirements, the “interest” must be a direct interest.

Regarding Rule 24 intervention motions, the Third Circuit has stated:

                 [T]he polestar for evaluating a claim for intervention is always
                 whether the proposed intervenor’s interest is direct or remote. Due
                 regard for efficient conduct of the litigation requires that intervenors
                 should have an interest that is specific to them, is capable of
                 definition, and will be directly affected in a substantially concrete
                 fashion by the relief sought. The interest may not be remote or
                 attenuated. The facts assume overwhelming importance in each
                 decision.

Kleissler v. U.S. Forest Serv., 157 F.3d 964, 972 (3d Cir. 1998). The Third Circuit has also stated:

“In general, a mere economic interest in the outcome of the litigation is insufficient to support a

motion to intervene.” Mountain Top Condo., 72 F.3d at 366.

          Here, the Pennsylvania Alliance Intervenors fail to satisfy the second through fourth

requirements of Rule 24(a)(2). More specifically, the Pennsylvania Alliance Intervenors lack a

direct and substantial interest relating to the subject matter of this litigation; their purported interest

will not be impaired without their involvement; and their interests are adequately represented by

the named Defendants. Therefore, their request for intervention as matter of right should be

denied.

          A.     The Pennsylvania Alliance Intervenors Lack a Direct and Substantial Interest
                 in the Subject Matter of the Litigation to Justify Intervention under Rule
                 24(a)(2).

           Without a direct interest in the competitive structure of Pennsylvania’s elections or a role

 in the administration of elections under the Elections Code, the Pennsylvania Alliance

 Intervenors cannot meet the second requirement for intervention as of right. The United States

 Supreme Court has ruled that under Rule 24(a)(2), a prospective intervenor’s interest must be

 one that is “significantly protectable” in the pending litigation. Donaldson v. United States, 400

 U.S. 517, 531 (1970). Under this requirement, an intervenor must have more than a general


                                                  - 10 -
           Case 2:20-cv-00966-NR Document 304 Filed 08/03/20 Page 11 of 21




    interest in the issues raised in the litigation. See Harris v. Pernsley, 820 F.2d 592, 601 (3d Cir.

    1987) (“… to have an interest sufficient to intervene as of right, the interest must be a legal

    interest as distinguished from interests of a general and indefinite character.”), cert. denied sub

    nom., Castille v. Harris, 484 U.S. 947 (1987) (quotations and citations omitted). Rather, the

    intervenor’s interest must be of such a sufficient nature that “the action will have a stare decisis

    effect on the intervenor’s rights.” Harris, 820 F.2d at 601. Consequently, where a prospective

    intervenor (like the Pennsylvania Alliance Intervenors here) has no authority or involvement in

    the administrative function which is the subject of the action, intervention as of right must be

    denied. Id. at 601-02.

           The decision in Harris is illustrative of this point. In that case, the then Philadelphia

    district attorney argued he had an absolute right to intervene as a defendant to litigate the

    constitutionality of the conditions of the Philadelphia prison system and the relief, if any, to

    which the plaintiffs may be entitled. Id. at 596. As for his particularized interest to justify

    intervention, the district attorney asserted that the suit’s attempt to impose a ceiling on the prison

    population would limit his ability to carry out his duties as a law enforcement officer. Id. at 601.

    In affirming the district court’s denial of his intervention petition, the Third Circuit held that

    because the district attorney did not administer the prison, and the consent decree placing a

    ceiling on the prison population would only tangentially affect his ability to prosecute, he “[did]

    not have a sufficient interest to intervene of right as a party in [the] action[.]” Id. at 602-603.

          Here, none of the Pennsylvania Alliance Intervenors’ claimed interests 3 constitute a

“direct, significant legally protectable interest” in this lawsuit sufficient to justify intervention as


3
  Those interests are, among others, “to ensure social and economic justice and full civil rights that
retirees have earned after a lifetime of work,” which allegedly includes “procedures affecting the
delivery and submission of mail ballots, which many of its members aged 65 and over will rely
upon to vote in the upcoming election,” as well as the Pennsylvania Alliance’s own lawsuit
pending before the Pennsylvania Supreme Court. See Brief in Support of Motion to Intervene
                                                   - 11 -
         Case 2:20-cv-00966-NR Document 304 Filed 08/03/20 Page 12 of 21




of right under Rule 24(a)(2). At issue in this action is whether the named Defendants’ inconsistent

administration of Pennsylvania’s newly-enacted no-excuse mail-in voting law not only violates the

General Assembly’s legislative mandates that were put in place to prevent the casting and counting

of ineligible or fraudulent ballots that dilute the votes of legitimately cast ballots but also infringes

Plaintiffs’ federal and state constitutional rights to vote and to free, fair, transparent, and verifiable

elections. Also, this lawsuit raises the issue of whether the poll watching statute is constitutional in

light of the expansion of mail-in voting and the inability to monitor such voting through traditional

poll watching.

        Moreover, the Pennsylvania Alliance Intervenors do not have any involvement in the

administration or monitoring of elections because they are not the county boards of elections,

political parties, or candidates. See, e.g., Tiryak v. Jordan, 472 F. Supp. 822, 823-24 (E.D. Pa.

1979) (“Although the [Commonwealth] is ultimately responsible for the conduct and organization

of elections, the statutory scheme [promulgated by the Election Code] delegates aspects of that

responsibility to the political parties. This delegation is a legislative recognition of the ‘critical

role played by political parties in the process of selecting and electing candidates for state and

national office.’”) (quoting Marchioro v. Chancy, 442 U.S. 191, 195 (1979)). See also 25 P.S.

§ 2642(f)-(i) and (k). Nor do they have any authority under the Pennsylvania Election Code to

appoint poll watchers or otherwise monitor elections. See 25 P.S. § 2687(a). Instead, the

Pennsylvania Election Code limits the appointment of poll watchers and the monitoring of the




(ECF #200), pp. 6, 11. The individual applicants also allegedly “plan to vote by mail due to the
ongoing pandemic and require safe and reliable avenues to return their ballots that do not require
them to risk disenfranchisement at the hands of the USPS’s delayed and unpredictable delivery
timelines, or to expose themselves to the health risks posed by the ongoing spread of COVID-19
by delivering their ballots in person.” Id. at p. 7.

                                                  - 12 -
        Case 2:20-cv-00966-NR Document 304 Filed 08/03/20 Page 13 of 21




Defendants’ administration of elections, including the casting and counting of ballots, to political

parties and their candidates. Id. at §§ 2687(a)-(b), 3060(a) & (d), 3050(d), & 3146.8(e).

       The Pennsylvania Alliance Intervenors’ claims regarding the COVID-19 pandemic’s

potential impact on the November 3, 2020 General Election, see, e.g., Brief in Support of Motion

to Intervene (ECF #200), pp. 3-5, 7-8, 10, 15, have little relevance in this action. To be sure, the

pandemic is a central theme of the Pennsylvania Alliance Intervenors’ own lawsuit pending before

the Pennsylvania Supreme Court. But there is no “pandemic exception” to the Election Code. As

made clear in Plaintiffs’ Amended Complaint, the Election Code clearly lays out how elections in

Pennsylvania must be conducted; yet, Secretary Boockvar and several of the County Election

Boards have failed to adhere to these mandates. Plaintiffs’ lawsuit is premised upon the federal and

state constitutional mandates that Pennsylvania must impose uniform statewide standards in all 67

counties in order to protect the legality of a citizen’s vote and to ensure free, fair, and transparent

elections, and those mandates cannot and should not be suspended during a pandemic or other

crisis. 4 Thus, whatever interests the Pennsylvania Alliance Intervenors purport to bring to this

action by virtue of their concern regarding the COVID-19 pandemic is immaterial to the analysis

of whether they should be permitted to intervene.

       Much like the district attorney in Harris, the Pennsylvania Alliance Intervenors possess

only a generalized interest in having the Pennsylvania Election Code interpreted, contrary to its

terms, to permit ballot harvesting and/or to allow for the use of drop-boxes, mobile collection sites,


4
  As the United States Department of Justice wrote in a COVID-19-related case raising
constitutional issues, “There is no pandemic exception ... to the fundamental liberties the
Constitution safeguards. Indeed, ‘individual rights secured by the Constitution do not disappear
during a public health crisis.’ These individual rights, including the protections in the Bill of
Rights made applicable to the states through the Fourteenth Amendment, are always in force and
restrain government action.” Statement of Interest, Temple Baptist Church v. City of Greenville,
No. 4:20-cv-64-DMB-JMV (N.D. Miss. April 14, 2020), ECF No. 6 (quoting In re Abbott, 954
F.3d 772 (5th Cir. 2020)).
                                                - 13 -
        Case 2:20-cv-00966-NR Document 304 Filed 08/03/20 Page 14 of 21




and other unmonitored means to return absentee and mail-in ballots outside the presence of poll

watchers. The Pennsylvania Alliance Intervenors lack a direct, substantial interest in this lawsuit.

Therefore, intervention as of right should be denied.

        B.      The Pennsylvania Alliance Intervenors Have Not Shown Any Impairment of
                Their “Interests” By Disposition of this Action Without Their Involvement.

        Even if an applicant proves that he or she possesses a sufficient legal interest in the

underlying dispute, intervention as of right remains improper if the applicant fails to demonstrate

that its interest is in jeopardy in the lawsuit in its absence. Mountain Top Condo., 72 F.3d at 368;

Brody v. Spang, 957 F.2d 1108, 1122 (3d Cir. 1992). To meet this element, a party seeking to

intervene must demonstrate that its legal interests “may be affected or impaired, as a practical

matter by the disposition of the action.” Brody, 957 F.2d at 1122 (quoting Harris, 820 F.2d at 596).

In making this determination, a court must assess “the practical consequences of the litigation,”

and “‘may consider any significant legal effect on the applicant’s interest.’” Harris, 820 F.2d at

601 (quoting National Resources Defense Council, Inc. v. United States Nuclear Regulatory

Comm’n, 578 F.2d 1341, 1345 (10th Cir. 1978)). But, “[i]t is not sufficient that the claim be

incidentally affected; rather, there must be ‘a tangible threat’ to the applicant’s legal interest.”

Brody, 957 F.2d at 1123 (quoting Harris, 820 F.2d at 601).

        Here, the Pennsylvania Alliance Intervenors have not proven any impairment of their

particular legal interests. Where a party seeking to intervene as a defendant lacks a sufficient

interest in the subject matter of the litigation, it necessarily fails to prove the requisite impairment

for mandatory intervention.      Alexander v. Rendell, 246 F.R.D. 220, 236 (W.D. Pa. 2007).

Moreover, the Pennsylvania Alliance Intervenors have asserted only an alleged impairment of

what they believe the General Assembly should have permitted in terms of mail-in voting, which

Plaintiffs contend the General Assembly has not enacted. See (ECF #200), pp. 10-14. But


                                                 - 14 -
        Case 2:20-cv-00966-NR Document 304 Filed 08/03/20 Page 15 of 21




impairment does not exist when the relief sought is merely the enforcement of the laws as written.

Consequently, the Pennsylvania Alliance Intervenors have failed to prove the third element of

intervention as of right.

       C.      The Pennsylvania Alliance            Intervenors’     Interests   Are     Adequately
               Represented by Others.

       The final requirement under Rule 24(c)(2) is whether the interests of Pennsylvania Alliance

Intervenors are inadequately represented by the existing parties. United States v. Territory of

Virgin Islands, 748 F.3d 514, 519-20 (3d Cir. 2014). Like the other elements, proving inadequate

representation rests on the party seeking intervention as a matter of right. Delaware Valley

Citizens’ Council for Clean Air v. Commonwealth of Pennsylvania, 674 F.2d 970, 974 (3d Cir.

1982) (“The burden is on the proposed intervenor to show that his interests are not adequately

represented.”).

       The Third Circuit has set out a three-part test for determining if representation is inadequate

to support mandatory intervention.

               Representation will be considered inadequate on any of the
               following three grounds: (1) that although the applicant’s interests
               are similar to those of a party, they diverge sufficiently that the
               existing party cannot devote proper attention to the applicant’s
               interests; (2) that there is collusion between the representative party
               and the opposing party; or (3) that the representative party is not
               diligently prosecuting the suit.

Brody, 957 F.2d at 1123 (citing Hoots v. Pennsylvania, 672 F.2d 1133, 1135 (3d Cir.1982)).

       “Representation is generally considered adequate if no collusion is shown between the

representative and an opposing party, if the representative does not represent an interest

adverse to the proposed intervenor and if the representative has been diligent in prosecuting

the litigation.” Delaware Valley, 674 F.2d at 973. See also Martin v. Kal-var Corp., 411 F.2d

552, 553 (5th Cir. 1969) (“The rule is that representation is adequate if no collusion is shown

                                               - 15 -
        Case 2:20-cv-00966-NR Document 304 Filed 08/03/20 Page 16 of 21




between the representative and an opposing party, if the representative does not have or

represent an interest adverse to the proposed intervenor and if the representative does not fail

in the fulfillment of his duty.”); Solid Waste Agency v. U.S. Army Corps of Eng’rs, 101 F.3d 503,

508 (7th Cir. 1996) (“Where the interests of the original party and of the intervenor are identical—

where in other words there is no conflict of interest—adequacy of representation is presumed.”).

       Also, a presumption of adequate representation exists when the representative is a

governmental body or officer charged by law with representing the interests of the absentee.

Commonwealth of Pennsylvania v. Rizzo, 530 F.2d 501, 505 (3d Cir. 1976) (citations omitted).

See also Benjamin ex rel. Yock v. Dep’t of Public Welfare of Pennsylvania, 701 F.3d 938, 958 (3d

Cir. 2012) (“There is a general presumption that a government entity is an adequate

representative.”). As the Third Circuit noted years ago: “Where official policies and practices are

challenged, it seems unlikely that anyone could be better situated to defend than the governmental

department involved and its officers.” Rizzo, 530 F.2d at 505. Accordingly, a proposed intervenor

can only overcome the presumption against inadequacy by “mak[ing] a ‘compelling showing’ as

to why [its] interests are not so represented.” Territory of Virgin Islands, 748 F.3d at 520 (citing

Mountain Top Condo., 72 F.3d at 369).

       Here, the Pennsylvania Alliance Intervenors make no argument of any collusion, lack of

diligence, or that the original named Defendants represent an interest adverse to them. Instead,

the Pennsylvania Alliance Intervenors merely speculate that their interests differ from that of

Secretary Boockvar and the Defendant County Election Boards. See Brief in Support of Motion

to Intervene (ECF #200), p. 15. But the Pennsylvania Alliance Intervenors offer no evidence of

any such difference. Moreover, both Secretary Boockvar and twenty of the Defendant County

Election Boards advocated for and/or implemented during the June 2, 2020 Primary Election the

use of drop-boxes and other collection sites and the other casting and counting procedures sought
                                               - 16 -
        Case 2:20-cv-00966-NR Document 304 Filed 08/03/20 Page 17 of 21




by the Pennsylvania Alliance Intervenors. The Pennsylvania Alliance Intervenors have offered no

evidence that these Defendants intend to change their position on these procedures and practices

for the upcoming General Election. Thus, without such evidence, the Pennsylvania Alliance

Intervenors have failed to prove that their interests are inadequately represented by the other

parties. See, e.g., Common Cause Ind., 2018 U.S. Dist. LEXIS 30917, at *15-*17 (absent evidence

that the State will not zealously defend the lawsuit, any “differences” between the State’s interest

and those of a public interest foundation are “so small that the Foundation’s interests do not require

separate representation[,]” especially where “the central objective of the lawsuit is to determine

whether Senate Enrolled Act 442 complies with the requirements of the NVRA and, in that respect,

the litigation does not call into question the Foundation’s entire mission.”).

       Moreover, a review of the proposed Rule 12 motion filed by the Pennsylvania Alliance

Intervenors aptly demonstrates the adequacy of the representation of their interests by existing

Defendants. The Pennsylvania Alliance Intervenors’ Rule 12 motion raises no distinct issues.

Each and every argument raised in the Pennsylvania Alliance Intervenors’ Rule 12 motion is also

raised by at least one—if not several—of the other Defendants in this action. 5 To the extent the

Pennsylvania Alliance Intervenors argue that their Rule 12 motion sets forth the claims and

defenses they intend to assert in this action, they bring nothing new to the table, and merely

duplicate the arguments raised by Secretary Boockvar or the County Election Boards.

       The Pennsylvania Alliance Intervenors have failed to satisfy the second through fourth

requirements of Rule 24(a)(2). Therefore, their request for intervention as a matter of right should

be denied.



5
  The same is true for the Rule 12 motions filed by the other proposed intervenors. See NAACP
Intervenors’ Rule 12 Motion and supporting brief (ECF #288, #299) and PennFuture and Sierra
Club’s Rule 12 Motion and supporting brief (ECF #296, #297).
                                                - 17 -
        Case 2:20-cv-00966-NR Document 304 Filed 08/03/20 Page 18 of 21




IV.    THE PENNSYLVANIA ALLIANCE INTERVENORS HAVE FAILED TO PROVE
       THAT PERMISSIVE INTERVENTION IS WARRANTED.

       Alternatively, the Pennsylvania Alliance Intervenors argue erroneously that permissive

intervention is warranted under Rule 24(b). See Brief in Support of Motion to Intervene (ECF

#200), pp. 16-17. In making this argument, the Pennsylvania Alliance Intervenors have not

asserted that intervention is proper based on a “conditional right to intervene by a federal statute.”

Fed. R. Civ. P. 24(b)(1). Instead, they claim only that they have “a claim or defense that shares

with the main action a common question of law or fact,” such that this Court should exercise its

discretion to allow them to intervene as party defendants. See (ECF #200), p. 16. This assertion

by the Pennsylvania Alliance Intervenors is not well-taken for two reasons.

       First, “if intervention as of right is not available, the same reasoning would indicate that it

would not be an abuse of discretion to deny permissive intervention as well.” United States v.

Terr. of the Virgin Islands, 748 F.3d 514 (3d Cir. 2014) (quoting Brody, 957 F.2d at 1124).

       Second, the Pennsylvania Alliance Intervenors fail to properly identify their alleged

defenses. Instead, the Pennsylvania Alliance Intervenors gloss over the common questions of law

or fact element, stating only that “Applicants and Defendants will inevitably raise common

questions of law and fact in defending this lawsuit and the elections process, including questions

involving the legality of the county boards’ use of drop-box locations for the delivery of absentee

ballots and the effect of such measures and Plaintiffs’ requested relief on the constitutional rights

of voters.” (ECF #200), p. 16. Even assuming these assertions are viable defenses to the claims

asserted by Plaintiffs in their complaint, nowhere in their papers do the Pennsylvania Alliance

Intervenors explain what their actual defenses are. Without attaching a proposed pleading as

required by Rule 24(c), this Court cannot determine whether the Pennsylvania Alliance

Intervenors’ defenses actually share a common question of law or fact, or whether they intend to

                                                - 18 -
        Case 2:20-cv-00966-NR Document 304 Filed 08/03/20 Page 19 of 21




assert any claims, including counterclaims or cross-claims, against Plaintiffs or the other

Defendants. Under such circumstances, courts have denied permissive intervention. See, e.g.,

Wisconsin Right to Life Political Action Comm. v. Brennan, No. 09-CV-764-VIS, 2010 WL

933809, 2010 U.S. Dist. LEXIS 22863 *7 & *10-11 (W.D. Wis. Mar. 11, 2010) (denying

permissive intervention to proposed intervenors who asserted only “generalized, public policy

interests” in support of the challenged law because “adding them as defendants makes this case

unnecessarily more complicated and increases the likelihood of delay” and they “can adequately

present their position as amicus curaie”).

V.     CONCLUSION.

       The Pennsylvania Alliance Intervenors’ Motion to Intervene (ECF #199) fails to comply

with Rule 24 or otherwise establish that mandatory or permissive intervention is appropriate. Not

only have the Pennsylvania Alliance Intervenors failed to identify the claims or defenses for which

intervention is sought, they lack Article III standing to join this suit. Also, the Pennsylvania

Alliance Intervenors lack a direct, substantial interest in this lawsuit, and they cannot overcome

the presumption that Defendants and/or other intervened parties are adequately representing their

interests. Moreover, their involvement will bog down an otherwise straightforward challenge by

political parties, candidates, and voters who have been injured by Defendants’ inconsistent

administration of the Pennsylvania Election Code and its new no-excuse mail-in voting.

Accordingly, Plaintiffs request that this Court deny the Pennsylvania Alliance Intervenors’ Motion

to Intervene (ECF #199).




                                              - 19 -
       Case 2:20-cv-00966-NR Document 304 Filed 08/03/20 Page 20 of 21




                                     Respectfully submitted,

                                     PORTER WRIGHT MORRIS & ARTHUR LLP

Date: August 3, 2020             By: /s/ Ronald L. Hicks, Jr.
                                     Ronald L. Hicks, Jr. (PA #49520)
                                     Jeremy A. Mercer (PA #86480)
                                     Russell D. Giancola (PA #200058)
                                     Six PPG Place, Third Floor
                                     Pittsburgh, PA 15222
                                     (412) 235-4500 (Telephone)
                                     (412) 235-4510 (Fax)
                                     rhicks@porterwright.com
                                     jmercer@porterwright.com
                                     rgiancola@porterwright.com

                                     and

                                     Matthew E. Morgan (DC #989591)
                                     (admitted pro hac vice – ECF #10)
                                     Justin Clark (DC #499621)
                                     (pro hac vice motion pending – ECF #27)
                                     Elections, LLC
                                     1000 Maine Ave., SW, 4th Floor
                                     Washington, DC 20224
                                     (202) 844-3812 (Telephone)
                                     matthew.morgan@electionlawllc.com
                                     justin.clark@electionlawllc.com

                                     Counsel for Plaintiffs




                                    - 20 -
        Case 2:20-cv-00966-NR Document 304 Filed 08/03/20 Page 21 of 21




                                CERTIFICATE OF SERVICE

       I hereby certify that I caused a true and correct copy of the foregoing Response to be filed

this 3rd day of August, 2020, via ECF, which system will serve notice of same on all parties

registered to receive same via the ECF system. For any party who has yet to enter an appearance,

the undersigned certifies that a copy of the foregoing filing will be served on that party via First

Class Mail and a copy sent to the County Solicitor, if known, via email or fax.

                                                 Respectfully submitted,

                                                 PORTER WRIGHT MORRIS & ARTHUR LLP

                                           By: /s/ Ronald L. Hicks, Jr.
                                               Ronald L. Hicks, Jr. (PA #49520)
                                               Jeremy A. Mercer (PA #86480)
                                               Russell D. Giancola (PA #200058)
                                               Six PPG Place, Third Floor
                                               Pittsburgh, PA 15222
                                               (412) 235-4500 (Telephone)
                                               (412) 235-4510 (Fax)
                                               rhicks@porterwright.com
                                               jmercer@porterwright.com
                                               rgiancola@porterwright.com

                                                 and

                                                 Matthew E. Morgan (DC #989591)
                                                 (admitted pro hac vice – ECF #10)
                                                 Justin Clark (DC #499621)
                                                 (pro hac vice motion pending – ECF #27)
                                                 Elections, LLC
                                                 1000 Maine Ave., SW, 4th Floor
                                                 Washington, DC 20224
                                                 (202) 844-3812 (Telephone)
                                                 matthew.morgan@electionlawllc.com
                                                 justin.clark@electionlawllc.com

                                                 Counsel for Plaintiffs
